                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

 UNITED STATES OF AMERICA                        )
                                                 )
 v.                                              )      No.:    3:13-CR-012
                                                 )
 JULIAN MANNING                                  )

                            MEMORANDUM AND ORDER

       This criminal case is before the court on the defendant’s pro se motion for

 sentence reduction [doc. 362], which has been rendered moot by the supplemental motion

 for sentence reduction filed by counsel [doc. 365]. Through counsel, the defendant

 requests that the court resentence him pursuant to 18 U.S.C. § 3582(c)(2) and in

 accordance with Amendments 782 and 788 to the United States Sentencing Guidelines

 Manual (“U.S.S.G.”). The government has responded [doc. 366], deferring to the court’s

 discretion whether and to what extent to grant any such reduction, subject to the

 limitations of 18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10.

 I.    Authority

       “Federal courts are forbidden, as a general matter, to modify a term of

 imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

 exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation

 and quotation marks omitted).      One such exception is identified in 18 U.S.C. §

 3582(c)(2):




Case 3:13-cr-00012-RLJ-JEM       Document 367 Filed 04/13/15         Page 1 of 5    PageID
                                       #: 1228
       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission . . . , the court may reduce the term
       of imprisonment, after considering the factors set forth in [18 U.S.C.]
       section 3553(a) to the extent that they are applicable, if such a reduction is
       consistent with applicable policy statements issued by the Sentencing
       Commission.

 If the court finds a defendant eligible for sentence reduction, “[t]he court may then

 ‘consider whether the authorized reduction is warranted, either in whole or in part,

 according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

 946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment

 based on a sentencing range that has subsequently been lowered by the Sentencing

 Commission, the court must first identify “the amended guideline range that would have

 been applicable to the defendant had the relevant amendment been in effect at the time of

 the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation

 omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1) (2014).

 Amendment 782, which became effective on November 1, 2014, revised the guidelines

 applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

 and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S. Sentencing

 Guidelines Manual app. C, amend. 782 (2014). Amendment 788, which also became

 effective on November 1, 2014, identified Amendment 782 as retroactive.            See id.,

 amend. 788.




                                             2


Case 3:13-cr-00012-RLJ-JEM       Document 367 Filed 04/13/15          Page 2 of 5       PageID
                                       #: 1229
        Other than substituting Amendment 782 for the corresponding provision

 applicable when the defendant was originally sentenced, the court “shall leave all other

 guideline application decisions unaffected.” See U.S. Sentencing Guidelines Manual §

 1B1.10(b)(1) (2014). The court “shall not” reduce a defendant’s term of imprisonment

 to a term “less than the minimum of the amended guideline range,” nor to a term “less

 than the term of imprisonment the defendant has already served.” Id. § 1B1.10(b)(2)(A),

 (C). 1 In addition, the commentary to guideline 1B1.10 provides that a court must also

 consider the § 3553(a) sentencing factors and the danger to the public created by any

 reduction in a defendant’s sentence. See id. cmt. n.1(B). A court may further consider a

 defendant’s post-sentencing conduct. See id.

 II.    Factual Background

        By judgment dated April 25, 2014, this court sentenced the defendant to a term of

 imprisonment of 42 months as to Count One in this case (conspiracy to distribute and

 possess with the intent to distribute marijuana), to be served consecutively to the 12-

 month revocation sentence imposed in this court’s case number 3:08-CR-056.                 The

 defendant’s guideline range in the present case was 70 to 87 months (total offense level

 25, criminal history category III), and the statute of conviction carried a mandatory

 minimum sentence of 60 months. Prior to sentencing, the United States filed a motion

 for downward departure pursuant to 18 U.S.C. § 3553(e) and U.S.S.G. § 5K1.1 [doc.

        1
           Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
 sentence below the amended guideline range—namely, if the defendant originally received a
 below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
 assistance to authorities.” Id. § 1B1.10(b)(2)(B). That is the case here.
                                                  3


Case 3:13-cr-00012-RLJ-JEM         Document 367 Filed 04/13/15            Page 3 of 5     PageID
                                         #: 1230
 313] which the court granted in imposing the 42-month sentence, a reduction of 40

 percent from the bottom of the guideline range. Additionally, the defendant filed a

 variance motion [doc. 344] which the court denied [doc. 346]. According to the Bureau

 of Prisons, the defendant is presently scheduled for release on January 11, 2016.

 III.   Analysis

        Applying Amendment 782, the defendant’s new guideline range is 57 to 71

 months, based on a total offense level of 23 and a criminal history category of III. Thus,

 the defendant was originally sentenced to a term of imprisonment based on a sentencing

 range that has subsequently been lowered by the Sentencing Commission. Applying

 U.S.S.G § 1B1.10(c), a corresponding 3553(e) departure may be applied without regard

 to the mandatory minimum sentence.

        The court has considered the filings in this case, along with the relevant 3553(a)

 factors. Additionally, the court has considered the danger to the public as the result of

 any reduction in the defendant’s sentence, the seriousness of the defendant’s offense, the

 defendant’s post-sentencing conduct, and the need to protect the public. See id. § 1B1.10

 cmt. n.1(B)(ii). Having done so, the court finds that the defendant should be granted a

 sentence reduction.

 IV.    Conclusion

        For the reasons stated herein, the defendant’s pro se motion [doc. 362] is

 DENIED AS MOOT, and the defendant’s motion filed through counsel [doc. 365] is

 GRANTED.       The defendant’s term of imprisonment in this case is reduced to 34

                                             4


Case 3:13-cr-00012-RLJ-JEM       Document 367 Filed 04/13/15          Page 4 of 5    PageID
                                       #: 1231
 months, which is a corresponding 40 percent substantial assistance reduction from the

 bottom of his new guideline range. This sentence is to be served consecutively to the 12-

 month revocation sentence imposed in this court’s case number 3:08-CR-056, for an

 aggregate sentence of 46 months. If that total sentence is less than the amount of time the

 defendant has already served, the total sentence shall instead be reduced to “time served.”

 See id. § 1B1.10(b)(2)(C).

        Except as provided above, all provisions of the judgment dated April 25, 2014,

 shall remain in effect. The effective date of this order is November 2, 2015. See id. §

 1B1.10(e)(1).

                 IT IS SO ORDERED.

                                                         ENTER:



                                                                s/ Leon Jordan
                                                          United States District Judge




                                             5


Case 3:13-cr-00012-RLJ-JEM       Document 367 Filed 04/13/15          Page 5 of 5    PageID
                                       #: 1232
